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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                           )
                                                    )
          Plaintiff,                                )
                                                    )
vs.                                                 ) No. 05-cr-40028-002-JPG
                                                    )
LAURA BERBER,                                       )
                                                    )
          Defendant.                                )

                                     MEMORANDUM AND ORDER

          This matter comes before the Court on defendant Laura Berber’s pro se motion for a reduction

of her criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States Sentencing Guideline

Manual (“U.S.S.G.”) § 1B1.10 (Doc. 191). The Court appointed counsel for Berber, and counsel has

moved to withdraw on the basis that she can make no non-frivolous arguments in support of the

defendant’s request (Doc. 205). See Anders v. California, 386 U.S. 738, 744 (1967). The government

has responded to the motions (Doc. 208). Berber failed to respond to counsel’s motion although she

was given an opportunity to do so.

          Berber pled guilty to one count of conspiring to distribute crack cocaine, powder cocaine and

methamphetamine, one count of possessing with intent to distribute crack cocaine and one count of

possessing with intent to distribute methamphetamine. At sentencing, the Court found by a

preponderance of the evidence that Berber’s crack cocaine relevant conduct was 6 kilograms. In

combination with relevant conduct attributable to other drugs, her total relevant conduct was at least

30,000 kilograms of marihuana equivalency units, which under United States Sentencing Guideline

Manual1 (“U.S.S.G.”) § 2D1.1 yielded a base offense level of 38. Her offense level was increased by

two points under U.S.S.G. § 2D1.1(b)(1) for possession of a dangerous weapon and was reduced by

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              Unless otherwise noted, the references to the guidelines in this order are to the 2004
      United States Sentencing Guidelines Manual.
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three points under U.S.S.G. § 3E1.1 for acceptance of responsibility for a total offense level of 37.

Considering Berber’s criminal history category of I, this yielded a sentencing range of 210 to 262

months in prison. The Court imposed a sentence of 210 months for each count, less than the statutory

maximum sentence established by Berber’s convictions. See 21 U.S.C. § 841(b)(1)(A). Berber now

asks the Court to apply recent changes to U.S.S.G. § 2D1.1 to lower her sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range that

has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).” In

doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure that any

reduction “is consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction under § 3582(c)(2) must satisfy

two criteria: (1) the Sentencing Commission must have lowered the applicable guideline sentencing

range, and (2) the reduction must be consistent with applicable policy statements issued by the

Sentencing Commission. If the defendant cannot satisfy the first criterion, the Court has no subject

matter jurisdiction to consider the reduction request. United States v. Lawrence, 535 F.3d 631, 637-38

(7th Cir. 2008); see United States v. Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom

McKnight v. United States, No. 08-9042, 77 U.S.L.W. 3558 (U.S. Apr. 6, 2009).

       Berber cannot satisfy the first criterion because she was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense levels

associated with various amounts of crack cocaine. Amendment 715, effective May 1, 2008, further

amended the commentary to U.S.S.G. § 2D1.1 by revising the manner in which offense levels are


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determined in cases involving crack cocaine in combination with other controlled substances. The

Sentencing Commission amended U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences

involving crack cocaine and sentences involving powder cocaine. The amendments did not, however,

reduce the sentencing range of defendants whose relevant conduct was 4.5 kilograms or more of crack

cocaine. See Forman, 553 F.3d at 590 (stating that the amendment “affects only defendants who are

responsible for distributing fewer than 4.5 kilograms of crack cocaine”). Berber was sentence based

on relevant conduct that included six kilograms of crack cocaine. Under the old and amended

guidelines this relevant conduct warranted a base offense level of 38. Thus, the amendment did not

lower her guideline range, and she cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction.

       Because Berber cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a

sentence reduction, the Court does not have subject matter jurisdiction to consider her reduction

request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court therefore GRANTS

counsel’s motion to withdraw (Doc. 205) and DISMISSES Berber’s motion for a sentence reduction

(Doc. 191) for lack of jurisdiction. The Clerk of the U.S. District Court is hereby DIRECTED to

mail a copy of this order to Defendant Laura Berber, #06686-025, FMC Carswell, P.O. Box 27137, Ft.

Worth, TX 76127.

IT IS SO ORDERED.
Dated this 20th day of May, 2009.


                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             U.S. DISTRICT JUDGE




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